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3212-CV-01509-.]LS-.]PR DOCUm€n'[l

Tammy Hussin (Bar NO. 155290)
Lemberg & Associates LLC

6404 Merlin Drive

Carlsbad, CA 92011

Telephone (8-55) 301-2100 ext. 55 14
thussin@lemberglaw.com

Lemberg & Associates, LLC
1100 Summer Street
Sta.mford, CT 06905
Telephone: (203) 653~2250
Facsimile: (203) 653-3424

Andrea Neumann,
Plaintiff,
vs.

CMRE Financial Services, lnc.; and

DOES 1-10, inclusive,

D¢fendants.

 

Attomeys for Plaintiff, Andrea Neumann

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION

 

 

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case NO.: 3¢<6\)\1:\€0@1 Q\§T QWJ

COMPLAINT FOR DAMAGES

1. vIOLATloN 0F FAIR DEBT
coLLECTION PRACTICES ACT,
15 U.S.C. § 1692 ;ET.. SEQ;

2. VIOLATION oF FAIR DEBT
CoLLECTION PRATICES ACT,
CAL.CIV.CODE § 1783 ET. sEQ.

JURY TRIAL DEMANDED

 

 

 

COMPLAINT FOR DAMAGES

 

 

 

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For this Cornplaint, the Plaintiff, Andrea Neumann, by undersigned counsel,
states as follows:

JURISDICTION

l. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of
Plaintiff’s personal privacy by the Defendants and its agents in their illegal efforts to
collect a consumer debt.

2. Supplernental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that
Defendants transact business here and a substantial portion of the acts giving rise to

this action occurred here.

PARTIES

4. The Plaintiff, Andrea Neumann (hereafter “Plaintiff”), is an adult
individual residing in Mission Hills, California, and is a “consurner” as the term is
defined by 15 U.S.C. § 1692a(3).

5 . Defendant, CMRE Financial Services, Inc. (“CMRE”), is a California
business entity with an address of 3075 E. Imperial Highway #200, Brea, California
92821, operating as a collection agency, and is a “debt collector” as the term is

defined by 15 U.S.C. § l692a(6).

 

2 COMPLAINT FOR DAMAGES

 

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6. Does 1-10 (the “Collectors”) are individual collectors employed by
CMRE and whose identities are currently unknown to the Plaintiff. One or more of
the Collectors may be joined as parties once their identities are disclosed through
discovery.

7. CMRE at all times acted by and through one or more of the Collectors.

ALLEGATIONS APPLICABLE T() ALL COUNTS
A. The Debt

8. A financial obligation (the “Debt”) was allegedly incurred to creditor (the
“Creditor”).

9. The Debt arose from services provided by the Creditor which were

primarily for family, personal or household purposes and which meets the definition
of a “debt” under 15 U.S.C. § 1692a(5).

10. The Debt was purchased, assigned or transferred to CMRE for collection,
or CMRE was employed by the Creditor to collect the Debt.

11. The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

B. CMRE Enggges in Harassment and Abusive Tactics

12. Within the last year, CMRE contacted Plaintiff in an attempt to collect

the Debt.

 

3 COMPLAINT FOR DAMAGES

 

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13. The Debt does not belong to Plaintiff.

14. CMRE called Plaintiff in an attempt to collect the Debt from Derek
Hudson (the “Debtor”).

l5. During the initial contact and during every contact thereafter, Plaintiff
informed CMRE that Plaintiff did not know the Debtor or his whereabouts and that
Plaintiff was in no way associated with the Debt, and instructed CMRE to cease all
communications with her.

16. However, despite being so informed on multiple occasions, CMRE
continued calling Plaintiff in an attempt to collect the Debt, placing three to four calls

per week with intent to annoy and harass Plaintiff.

C. Plaintiff Suffered Actual Damag§

 

l7. The Plaintiff has suffered and continues to suffer actual damages as a
result of the Defendants’ unlawful conduct.

18. As a direct consequence of the Defendants’ acts, practices and conduct,
the Plaintiff suffered and continues to suffer from humiliation, anger, anxiety,
emotional distress, fear, frustration and embarrassment

l9. The Defendants’ conduct was so outrageous in character, and so extreme
in degree, as to go beyond all possible bounds of decency, and to be regarded as

atrocious, and utterly intolerable in a civilized community.

 

4 COMPLAINT FOR DAMAGES

 

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M
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.

20. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

21. The Defendants engaged in behavior the natural consequence of which
was to harass, oppress, or abuse the Plaintiff in connection with the collection of a
debt, in violation of 15 U.S.C. § 1692d.

22. The Defendants caused a phone to ring repeatedly and engaged the
Plaintiff in telephone conversations, with the intent to annoy and harass, in violation
of 15 U.S.C. § l692d(5).

23. The foregoing acts and omissions of the Defendants constitute numerous
and multiple violations of the FDCPA, including every one of the above-cited
provisions.

24. The Plaintiff is entitled to damages as a result of the Defendants’

violations.

M
vIoLATIoN oF THE RoSENTHAL FAIR DEBT CoLLECTIoN
PRACTICES ACT, Cal. Civ. Code § 1788 et seq.

25. The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

 

5 COMPLAINT FOR DAMAGES

 

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26. The Rosenthal Fair Debt Collection Practices Act, California Civil Code
section 1788 et seq. (“Rosenthal Act”) prohibits unfair and deceptive acts and
practices in the collection of consumer debts.

27. CMRE Financial Services, Inc., in the regular course of business,
engages in debt collection and is a “debt collector” as defined by Cal. Civ. Code §
1788.2(0).

28. The Defendants caused a telephone to ring repeatedly and engaged the
Plaintiff in continuous conversations with an intent to annoy the Plaintiff, in violation
of Cal. Civ. Code § 1788.11(d).

29. The Defendants communicated with the Plaintiff with such frequency as
to be considered harassment, in violation of Cal. Civ. Code § 1788.1l(e).

30. The Defendants failed to comply with the provisions of 15 U.S.C. §
1692, et seq., in violation of Cal. Civ. Code § 1788.13(e).

31. The Defendants did not comply with the provisions of Title 15 , Section
1692 of the United States Code, in violation of Cal. Civ. Code § 1788.17.

32. The Plaintiff is entitled to damages as a result of the Defendants’

violations.

 

6 COMPLAINT FOR DAMAGES

 

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M
INvAsloN oF PRIvACY BY INTRUSIoN UPoN sECLUSIoN

33. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

34. The Restatement of Torts, Second, § 652B defines intrusion upon
seclusion as, “One who intentionally intrudes. . .upon the solitude or seclusion of
another, or his private affairs or concerns, is subject to liability to the other for
invasion of privacy, if the intrusion would be highly offensive to a reasonable person.”

35. California further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated California state law.

36. The Defendants intentionally intruded upon Plaintiff’s right to privacy by
continually harassing Plaintiff with above referenced telephone calls.

37. The telephone calls made by the Defendants to Plaintiff were so
persistent and repeated with such frequency as to be considered, “hounding the
plaintiff,” and, “a substantial burden to her existence,” thus satisfying the Restatement
of Torts, Second, § 652B requirement for an invasion of privacy.

38. The conduct of the Defendants in engaging in the illegal collection
activities resulted in multiple invasions of privacy in such a way as would be
considered highly offensive to a reasonable person.

39. As a result of the intrusions and invasions, the Plaintiff is entitled to

actual damages in an amount to be determined at trial from the Defendants.

 

7 COMPLAINT FOR DAMAGES

 

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40.

All acts of the Defendants and its agents were committed with malice,

intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

PRAYER FOR RELIEF

 

WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants;

. Actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against the

Defendants;

. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

against the Defendants;

. Costs of litigation and reasonable attomey’s fees pursuant to l5 U.S.C.

§ 1692k(a)(3) against the Defendants;

. Actual damages pursuant to Cal. Civ. Code § l788.30(a);

. Statutory damages of $1,000.00 for knowingly and willfully committing

violations pursuant to Cal. Civ. Code § 1788.30(b);

. Actual damages from the Defendants for the all damages including

emotional distress suffered as a result of the intentional, reckless, and/or
negligent FDCPA violations and intentional, reckless, and/or negligent
invasions of privacy in an amount to be determined at trial for the

Plaintiff;

 

8 COMPLAINT FOR DAMAGES

 

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G. Punitive damages; and

H. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANDED ON ALL COUNTS

DATED: September 6, 2012 TAMMY HUSSIN

/F\ 1
By: \D<\P\§l>\§

Tammy Hussin, Esq.
Lemberg & Associates, LLC
Attorney for Plaintiff, Andrea Neumann

 

 

9 COMPLAINT FOR DAMAGES

 

Case 8:12-cV-01509-.]LS-.]PR Document 1 Filed 09/11/12 Page 10 ot 13 Page |D #:10

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Josephine Tuoker and the assigned
discovery Magistrate Judge is Jean P. Rosenbluth.

The ease number on all documents filed with the Court should read as follows:

SACV12- 1509 JST (JPR:£)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (if a removal action is
filed, a copy of this notice must be served on atf piatntitfs).

Subsequent documents must be filed at the following location:

Western Division Southern Division Eastern Division
312 N. Spring St., Rm. G-S 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UNITED STATES MAG|STRATE JUDGE FOR DlSCOVERY

 

 

Case 8:12-cV-01509-.]LS-.]PR Document 1 Filed 09/11/12 Page 11 ot 13 Page |D #:11

Tammy Hussin _

Lemberg 8_¢ Ass_ociates, LLC

6404 Merlln ]_)rrve_

Carlsbad, Califomra 9201 1
Telephone: (855) 301~2100 Ext. 5514

Facsimile: (203) 653-3424

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

am giale igaaast nl ties

CMRE Financial Services, Inc.; and DOE`.S 1-10,
inclusive,

 

Andrea Neumann

 

DEFENDAN'T(S) . SUMMONS

 

 

TO: DEF'ENDANT(S): CMRE Financiai Services, lnc.

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not. counting the day you received it), you
must serve on the plaintiff an answer to the attached 121 complaint EI amended complaint
l:l counterclaim [] cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer
or motion must be served on the plaintiff’s attorney, Tammy Hussin, of counsel Lemberg & Associates, whose
address is 6404 Merlin Drive, Carlsbad1 CA 92011. lt you fail to do so, judgment by default will be entered
against you for the relief demanded in the complaint You also must file your answer or motion with the court.

Clerk, U.S. District Court

sttilzt)iz ®/7;%(
Dated: By: v f W_\

Deputy Clerk

(Seal ofth Courr

[Use 60 days ifthe defendant is the United States or a United States agency or is an ojj'icer or employee ofthe United States Aiiowed'
60 days by Rule .IZ(a)(S)]. '

CV-OlA (12/07) SUMMONS

 

 

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CIVIL COVERSHEET

 

1 (a) PL.A]NTIFFS (Check box if you are representing yourself I])

Andrea Neumann

DEFENDANTS

CMRE Finarioial Services, lno.

 

(h] Attorneys (Firm Name, Address and Telepl:lone Number. It`you are representing

yourself, provide same.)

Tammy Hussin, 6404 Merlin Drive, Carlsbad, CA 92011

855-301-2300 X 5514

Lemberg & .Assoeiates, 1100 Summer St Brd Fl Stamford CT 06905 2036532250

 

Attorneys (If Known)

 

I.I. BASIS OF JUR[SDICTlON (Plaee an X in one box only.)

El l U.S. Government Plaintiff

l:] 2 U.S. Govern.ment Defendant

213 Fedaraiouesa@n(u.s.

Govern.tnent Not a Party)

L_.l 4 Diversity (lndicate Citizensbip
ofParties in Item II_`[)

 

lII. CITIZENSH]P OF PR[NCIPAL PARTIES - For Diversity Cases Ooly
(Place an `X in one box for plaintiff and one for defendant)

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Citizen of This State

Citizen of`Another St'ate

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Citizen or Subj eat of a Foreign Country |Il 3

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IV. ORIGIN (Place an X in one box only.)

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Appellate Comt- District

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V. REQUESTED lN COMPLAINT: IURY DEMAND: l!l’Yes El No (Check ‘Yes’ only if demanded in complaint.)
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thoNnY DEMANDED IN comLAINT: s Damases, fees COStS

 

VI. CAUSE Oli' ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement ofoau.se. Do not cite jurisdictional statutes unless diversity.)

V'II. NATURE OF SUIT (Place an X in one box only.)

       

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15 U.S.C. 1692 - Violations of the Fair Debt Collection Practices Act

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or Defendant)
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USC 7609

 

 

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FOR OFFICE USE ONLY: Case Number: wl (2’ b \SO q

AFTER COMPLETING THE FRGNT SIDE OF FORM CV-'?`l, C(]MPLETE THE INFORMATION REQUESTED BELOW.

 

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CIVIL COVER SHEET

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CIV'IL COVER SHEET

VII`I(a). [DENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? l!{No iI| Yes
If yes, list case n.\nnher(s):

 

VIII(IJ). RELA'I‘ED CASES: Have any cases been previously filed in this court that are relatedto the present case? E(No l`Il Yes
If yes, list case omnber(s).'

 

Civil cases are deemed related if a previously tiled case and the present asset
(Check all boxes that apply) l:| A. Arise from the same or closely related transactions, happenings, or events; or
l;l B. Call for determination of the same or substantially related or similar questions of law and fact,' or
E| C. For other reasons would entail substantial duplication of labor if heard by different judges; or
El D. Involve the same patent, trademark or copyright §1_1£1 one of the factors identified above in a, b or c also is present

 

 

IX. VEN'U'E: (When completing the following information, use an additional sheet if necessary.)

(a) ' List the County in this District; California County outside of this Disi:rict; State it` other than California; or Foreign Counny, in which EACH named plaintiff resides
l:l Check here if the government its agencies or employees is a named plaintift`. If this box is checked, go to item {b).

 

Couuty in this Disttict:* California County outside of this District; State, if other than California; or Foreign Country

 

County of Los Angeles

 

 

 

(b) List the County in this District; California County outside of this Distn`ct; State if other than California; or Foreign Country, in which EACH named defendant resides
E Checlc here if the govemment, its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this District:* _ California County outside of this District; State, it` other than California; or Foreign Ccuntry

 

County of Ora.nge

 

(c) List the Cou.nty in this District; California County outside of this District; State if other than Califoruia; or Foreign Counh'_v, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this Dist:'ict:* California County outside of this District; State, if other than California; or Foreig~n Country

 

County ot`Los Angeles

 

 

 

 

* Los Augcles, Orangc, San Hernardino, Rivcrside, Vcnt'ura, Santa Barbsrs, or San Luis Ohispo Cnunties
Note: ln land condemnation cases. use the location of the tract of land involved

x. sleNATuRs oF Ar'ronner (on Pno PER); \"““‘ili“"‘"' one September 61 2912
Notice to Counsc])'Parties: The CV-'Fl (.`lS-44] Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This form, approved by the ludicial Conference ofthc United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose ofstatistics, venue and initiating the civil docket shcct. (For more detailed instructiohs, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cascs.‘

Nature of Suit Code Abhrcviation Substanttvc Statement of Cause otAction

861 H.[A All claims for health insurance benefits (Medicare) under Title 18,_Pa1t A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, ctc., for certification as providers of services under the
program (42 U.S.C. 193 5FF(b)}

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Minc Health and Safety Act of 1969.
(30 U,S.C. 923]

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Secun`ty Act, as
amended; plus all claims fried for child`s insurance benefits based on disabilityl (42 U.S.C. 405(g)}

863 DIWW All claims filed for widows or Widowers insurance benefits based on disability under Title 2 of the Social Sccurity
Act, as amended (42 U.S.C. 405(g])

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Seeurity
Act, as amended

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of thc Social Security Act, as amended (42
U.s'.c. (g)}

 

Cv-'n (05/08) crer coven storer rage 2 am

 

